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EXHIBIT A

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City of Easton, PA
Wednesday, February 13, 2019

Chapter 456. Rental Property

Article lll. Licensing and inspection of Residential Rental
Property

§ 456-19. Failure to register or obtain a license and nonrenewal or
revocation of license.

A.

General. A Code Enforcement Officer may initiate the following enforcement actions against an
owner for violating any provision of this article that imposes a duty upon the owner and/or for failing
to regulate the breach of duties by occupants as provided for herein.

Responses to violations of this article and other City codes.

(1)

(3)

Notice of violations. At the time of the initial inspection, the Code Enforcement Officer shall
provide to the owner or manager the written notification of violations of City codes and require
that violations be corrected within a reasonable maximum time period as established by the
Code Enforcement Officer.

[Amended 7-11-2018 by Ord. No. 5647]

(a) A Code Enforcement Officer may determine that the rental unit is unfit for human
habitation, in which case it shall be vacated and remain vacated until such situation is
corrected.

(b) For serious violations that do not require the property to be immediately vacated, a Code
Enforcement Ocher may require that the violations be corrected within 24 hours or
another time period stated on the notice.

Nonrenewal. A Code Enforcement Officer shall delay or deny the renewal of a residential
rental license if there are outstanding violations of City codes for that rental unit that have not
been corrected at the time of license renewal. lf the violations are not a threat to the safety of
occupants or other members of the public, a Code Enforcement Officer shall permit the current
occupants to continue to reside in the premises for a reasonable period of time established by
a Code Enforcement Officer in the notice of nonrenewal, with the time limit removed when the
violations of City codes are corrected.

Revocation. The immediate revocation of the license to rent a regulated rental unit shall occur
if a Code Enforcement Oflicer determines that violations of City codes present a threat to the
safety of occupants or other members of the public. Such revocation shall occur until violations
of City codes are corrected and the property has been reinspected. Upon revocation, the
owner shall take immediate steps to evict the occupants and/or to locate alternative housing
for the occupants.

(a) A Code Enforcement Officer may revoke the license to rent a regulated rental unit if the
owner or his/her designated manager are not available or do not respond to contacts by a
Code Enforcement Ocher, or if the name and contact information for the owner or
manager are no longer valid, or if the manager no longer represents the owner.

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(b) A Code Enforcement Ocher may revoke the license to rent a regulated rental unit if there
are overdue real estate taxes, water, sewage and garbage/rubbish collection fees that are
owed to the City of Easton or its authorities or assignees or lessees.

[Added 7-11-2018 by Ord. No. 5647]

(4) Reinstatement. A residential rental license shall be reinstated if the owner of a regulated rental
unit corrects the reason for the revocation of the residential rental license and has paid the
residential rental license reinstatement fee.

C. Criteria for applying penalties.

(1) The Code Enforcement Officer, when deciding upon the penalties provided in this article, shall
consider the following:

(a) The effect of the violation on the health and safety of occupants of the regulated rental
unit, other residents of the premises, and neighboring residents.

(b) Whether the owner has prior violations of this article and whether those violations were
satisfactorily corrected in a timely manner.

(c) The effect of penalties upon the occupants, particularly when the occupants did not cause
the violation.

(d) The actions taken by the owner to remedy the violation and to prevent future violations,
including any written plan submitted by the owner and good faith efforts of the owner to
bring the property into compliance.

D. ln addition to enforcing penalties set forth above, a Code Enforcement Officer may establish
reasonable conditions upon a residential rental license that will fulfill the purposes of this article.

E. Grounds for imposing penalties. Any of the following may subject an owner to penalties as provided
for in this article:

(1) Failure to register a residential rental unit by the date as set forth in this article.

(2) Failure to abate a violation of City codes and ordinances that apply to the premises within the
time directed by the Code Enforcement Officer.

(3) Refusal to permit the inspection of the premises by a Code Enforcement Officer as required by
this article,

(4) Failure to take steps to remedy and prevent violations of this article by occupants of regulated
rental units as required by this article.

(5) Failure to evict occupants after having been directed to do so by a Code Enforcement Officer
as provided for in this article.

F. Notifications for failure to register a residential rental unit or to be granted a license and nonrenewal
or revocation of license, Following a determination that a residential rental unit has not been
registered or that grounds for not granting a license, nonrenewal or revocation of a license exist, a
Code Enforcement Officer shall notify the owner or manager of the action to be taken and the
reason therefor.

(1) Such notification shall be in writing, addressed to the owner or manager in question, sent by
certified mail, and shall contain the following information:

(a) The address of the premises in question and identification of the affected regulated rental
unit(s).

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(b) A description of the violation which has been found to exist.

(c) A statement that the residential rental unit has not been registered, or that the license for
said residential rental unit(s) will not be granted, shall be revoked, or will not be renewed
for the next license.

(d) Time deadlines shall be provided in the notice.
(e) information regarding the appeal process.

The City shall not be responsible for failing to provide notice where the owner has not provided
an up-to-date name and address for the owner or the manager for the rental unit.

For purposes of this article, any notice required hereunder to be given to a manager shall be
deemed as notice given to the owner.

There shall be a presumption that any notice required to be given to the owner under this
article shall have been received by such owner if the notice was given to the owner in the
manner provided by this article.

A claimed lack of knowledge by the owner of any violation hereunder cited shall not be a
defense to rental license nonrenewal, suspension or revocation or an eviction order as long as
all required notices involving such proceedings have been sent to the last known address of
the owner.

(a) ln the event that the notice is returned by the postal authorities marked "unclaimed" or
"refused," then the Code Enforcement Officer shall post the notice at a conspicuous place
on the premises.

Appeals.

(1)

(2)

Any person affected by a decision, notice or order of a Code Enforcement Officer under this
article shall have the right to appeal to the City of Easton Property l\/laintenance Board of
Appeals. An application for appeal may be made when it is claimed that the provisions of this
article have been improperly applied or administered or that factual errors were made by the
Code Enforcement Officer, or for such other grounds under this article as the applicant may
allege. A written application for appeal is required to be filed within 10 days after the day the
decision, report, notice or order was received or served. A fee as specified in Chapter 285,
Fees, shall be paid in advance by the person requesting the hearing for each appeal to the
Property Maintenance Board of Appeals.

[Amended 2-11-2009 by Ord. No. 5180; 9-13-2017 by Ord. No. 5602]

The Property Maintenance Board of Appeals shall also hear all appeals of enforcement
matters under the City of Easton's Property Maintenance Code. The appeal provisions in such
code are hereby included by reference.
[Amended 9-13-2017 by Ord. No. 5602]

The Property Maintenance Board of Appeals is hereby established and shall consist of five
members who are appointed by the Mayor of Easton, with confirmation required by City
Council. No more than two members shall be employees of the City of Easton. A minimum of
one member shall own rental housing in the City of Easton. The members shall serve
staggered three-year terms, with at least one term ending each year.

(a) A minimum of three votes shall be needed in any action by the Board. A two-to-two vote
shall be considered to have been an affirmation of the determination of the Code
Enforcement Officer.

[Amended 5-14-2008 by Ord. No. 5091]

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(b)

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Two alternate members of the Property l\/laintenance Board of Appeals may also be
appointed by the Mayor, who may be named by the Chairman of the Board to serve when
regular members are unable to serve.

Decisions of the Property Maintenance Board of Appeals may be appealed to the Court of
Common Pleas, provided a notice of appeal is Hled in writing with the City's Solicitor's
office within 30 days after a party's receipt of the decision of the Property l\/laintenance
Board of Appeals.

The Property Maintenance Board of Appeals shall have the authority to elect its own
officers and to establish and revise bylaws for its own procedures, actions and meetings.

Decisions of the Property Maintenance Board of Appeals shall be provided in writing to the
Chief Codes Enforcement Administrator and to the last known address of the owner, the
manager, if applicable, and the affected occupant within 10 days after the conclusion of a
hearing on a matter.

Any compensation for the members of the Property Maintenance Board of Appeals shall
require approval by City Council.

A stenographic record is not required for meetings of the Property Maintenance Board of
Appeals. l\/linutes shall be maintained, and a tape recording of meetings may occur.

Other boards. The City of Easton Board of Health shall continue to hear appeals concerning
health regulations. The City of Easton Zoning Hearing Board shall continue to hear appeals
concerning the Zoning Ordinance. The City of Easton Code Board of Appeals shall continue to
hear appeals as provided in Chapter 245, Article ||, Uniform Construction Codes, of the Code
of the City of Easton.

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